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          EXHIBIT B
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                                        Patent Claims Analysis
                                                      of
 US10721542: "Method and device for providing a main content and an extra content to a user
                                       through reference item"


                                                   against
                                                 Panasonic TV


 US10721542B2
 United States
 Inventor        Ruiz Rodriguez Ezequiel

 Current Assignee Naxos Finance SA


 Worldwide applications
 2012 ES CN US EP KR WO



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                                      Total patentTerm Adjustments

                                                      0
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 CLAIMS


 1. A method for providing a main content and an extra content to a user, said method comprising:

    receiving a specific main content and metadata from a first source and displaying said specific main
    content on a first device, wherein said metadata and said specific main content are broadcasted
    together from the first source, and wherein said metadata links said specific main content with an
    extra content;

    forwarding said metadata to a second device, wherein:


       the forwarding of said metadata is executed by scanning said metadata by said second device,


       the second device receives said extra content from a second source, and


       said specific main content is displayed on said first device while said extra content is displayed on
       said second device;

    wherein the extra content changes in correspondence to a change of the specific main content;

    wherein the first source is different from the second source;

    wherein, when the extra content is selected, the extra content does not change even if the specific
    main content is changing, and any new extra content, which correlates to the changing specific main
    content, is delayed from being displayed on the second device until such time as a confirmation or
    input is received at the second device from the first device, and

    wherein the confirmation or input is initially received at a command key of the first device, which is
    displaying the specific main content, such that the first device's command key, when selected,
    provides the confirmation or input and further causes the second device to display the new extra
    content.
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Row   Claim Element                   Contention

1.0   1. A method for providing a     Panasonic TV has a method for providing a main content and an extra content to a
      main content and an extra       user.
      content to a user, said
      method comprising:




                                      <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                      cast-your-phone-to-your-panasonic-tv.html> @ 2024




1.1   receiving a specific main
      content and metadata from a     Plaintiff contends that Panasonic TV receiving a specific main content [video on
                                      "Phone"] and metadata [data about "VIERA model number"] from a first source
      first source and displaying
                                      [media on "Phone"] and displaying said specific main content [video on "Phone"]
      said specific main content on
                                      on a first device ["Phone"], wherein said metadata [data about "VIERA model
      a first device, wherein said    number"] and said specific main content [video on "Phone"] are broadcasted
      metadata and said specific      together from the first source [media on "Phone"], and wherein said metadata
      main content are broadcasted    [data about "VIERA model number"] links said specific main content [video on
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      together from the first source,   "Phone"]with an extra content [video on "Panasonic TV"].
      and wherein said metadata
                                        For example, a Panasonic TV receives a video and information about its VIERA model
      links said specific main
                                        number from a phone. The video is displayed on the phone, while the VIERA model
      content with an extra content;
                                        information helps the Panasonic TV link and play the corresponding video on the TV.




                                        <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                        cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.2   forwarding said metadata to a
      second device, wherein:           Plaintiff contends that Panasonic TV forwarding said metadata [data about
                                        "VIERA model number"] to a second device ["Panasonic TV"].

                                        For example, a Panasonic TV forwards the VIERA model number information to another
                                        Panasonic TV.
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                                  <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                  cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.3   the forwarding of said
      metadata is executed by     Plaintiff contends that Panasonic TV the forwarding of said metadata [data about
                                  "VIERA model number"] is executed by scanning said metadata [data about "VIERA
      scanning said metadata by
                                  model number"] by said second device ["Panasonic TV"].
      said second device,
                                  For example, the Panasonic TV forwards the VIERA model number information by first
                                  scanning it itself.
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                                   <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                   cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.4   the second device receives
      said extra content from a    Plaintiff contends that Panasonic TV the second device ["Panasonic TV"] receives said
                                   extra content [video on "Panasonic TV"] from a second source [media on
      second source, and
                                   "Panasonic TV"].

                                   For example, the Panasonic TV receives a video from a media source and plays it on
                                   the TV.
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                                       <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                       cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.5   said specific main content is
      displayed on said first device   Plaintiff contends that Panasonic TV said specific main content [video on "Phone"] is
                                       displayed on said first device ["Phone"] while said extra content [video on
      while said extra content is
                                       "Panasonic TV"] is displayed on said second device ["Panasonic TV"].
      displayed on said second
      device;                          For example, the video is displayed on the phone while the same video is shown on the
                                       Panasonic TV at the same time.
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                                      <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                      cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.6   wherein the extra content
      changes in correspondence to    Plaintiff contends that Panasonic TV wherein the extra content [video on
                                      "Panasonic TV"] changes in correspondence to a change of the specific main
      a change of the specific main
                                      content [video on "Phone"].
      content;
                                      For example, when the video on the phone changes, the video on the Panasonic TV
                                      changes to match it.
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                                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                    cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.7   wherein the first source is
      different from the second     Plaintiff contends that Panasonic TV wherein the first source [media on "Phone"] is
                                    different from the second source [media on "Panasonic TV"].
      source;
                                    For example, the media playing on the phone is different from the media playing on
                                    the Panasonic TV.
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                                        <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                                        cast-your-phone-to-your-panasonic-tv.html> @ 2024


1.8   wherein, when the extra
      content is selected, the extra    Plaintiff contends that Panasonic TV wherein, when the extra content [video on
                                        "Panasonic TV"] is selected, the extra content [video on "Panasonic TV"] does not
      content does not change even
                                        change even if the specific main content [video on "Phone"] is changing, and any
      if the specific main content is
                                        new extra content [video on "Panasonic TV"], which correlates to the changing
      changing, and any new extra       specific main content [video on "Phone"], is delayed from being displayed on the
      content, which correlates to      second device ["Panasonic TV"] until such time as a confirmation or input
      the changing specific main        ["Confirm on Your Panasonic TV"] is received at the second device ["Panasonic TV"]
      content, is delayed from being    from the first device ["Phone"].
      displayed on the second
                                        For example, when a video is selected on the Panasonic TV, it stays the same even if the
      device until such time as a
                                        video on the phone changes. A new video on the Panasonic TV, related to the changing
      confirmation or input is          video on the phone, will not appear until a "Confirm on Your Panasonic TV" message is
      received at the second device     sent from the phone to the TV.
      from the first device, and
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                                         <https://pna-b2b-storage-
                                         mkt.s3.amazonaws.com/production/236189_bf1uew_no_manual_en.pdf> @ 2018


1.9   wherein the confirmation or
      input is initially received at a   Plaintiff contends that Panasonic TV wherein the confirmation or input ["Confirm
                                         on Your Panasonic TV"] is initially received at a command key ["PIN (8-digit
      command key of the first
                                         number)"] of the first device ["Phone"], which is displaying the specific main
      device, which is displaying the
                                         content [video on "Phone"], such that the first device ["Phone"]'s command key
      specific main content, such        ["PIN (8-digit number)"], when selected, provides the confirmation or input
      that the first device's            ["Confirm on Your Panasonic TV"] and further causes the second device
      command key, when selected,        ["Panasonic TV"] to display the new extra content [video on "Panasonic TV"].
      provides the confirmation or
                                         For example, the "Confirm on Your Panasonic TV" message is first received by the
      input and further causes the
                                         phone, which is displaying the video. When the phone’s 8-digit PIN is entered, it sends
      second device to display the
                                         the confirmation to the Panasonic TV, allowing the TV to display the new video.
      new extra content.
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                    <https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-
                    cast-your-phone-to-your-panasonic-tv.html> @ 2024
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                    <https://pna-b2b-storage-
                    mkt.s3.amazonaws.com/production/236189_bf1uew_no_manual_en.pdf> @ 2018


                         ●    TARGET = Panasonic TV

                         ●    first device = "Phone"
                         ●    second device = "Panasonic TV"
                         ●    first source = media on "Phone"
                         ●    second source = media on "Panasonic TV"
                         ●    specific main content = video on "Phone"
                         ●    extra content = video on "Panasonic TV"
                         ●    metadata = data about "VIERA model number"
                         ●    confirmation or input = "Confirm on Your Panasonic TV"
                         ●    command key = "PIN (8-digit number)"
